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                              Exhibit A
          Case 7:24-cv-00114-B          Document 74-2            Filed 02/01/25            Page 2 of 3      PageID 428
  Message

  From:         Rob Rakowitzl
                                                                                               .rakowitz]
  Sent:         16/03/2022 1:02:56 PM
  To:                                                                         raymedia.biz]
  CC:
  Subject:      Re: Meta: Zefr partnership on post campaign reporting



  We need to get the ExecCo to understand that we're operating with a Roosevelt doctrine of "speaking softly and
  carrying a big stick"

  Rob Rakowitz
  Initiative Lead - Global Alliance for Responsible Media
  World Federation of Advertisers



  From: Stephan Loerke ~wfanet.org>
  Sent: Wednesday, March 16, 2022 9:00:56 AM
  To: Rob Rakowitz               wfanet.org>;                              raymedia.biz>
  Cc:                                 wfanet.org>
  Subject: RE: Meta: Zefr partnership on post campaign reporting

  Exactly. That needs to be said loud and clear


  From: Rob Rakowitz ~wfanet.org>
  Sent: Wednesday, 16 March 2022 13:55
  To: Stephan Loerke              wfanet.org>;                             raymedia.biz>
  Cc:                                 wfanet.org>
  Subject: Re: Meta: Zefr partnership on post campaign reporting

  The stakeholder messaging from Meta is - "without GARM we wouldn't have been able to make these moves" - and I
  really like the "network effect" of Zefr now hitting TikTok and Meta Feed - the two post popular and hardest to wrangle
  formats

  This should be a message to the ExecCo for Athens - our demands are being met

  Rob Rakowitz
  Initiative Lead - Global Alliance for Responsible Media
  World Federation of Advertisers




  From: Stephan Loerke -                        >
  Sent: Wednesday, March 16, 2022 8:51:54 AM
  To: Rob Rakowitz
  Cc:
  Subject: RE: Meta: Zefr partnership on post campaign reporting

  Good news. Makes sense to highlight the role that GARM played



                                                            Appendix 109

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         Case 7:24-cv-00114-B                Document 74-2            Filed 02/01/25           Page 3 of 3         PageID 429
  From: Rob Rakowitz - >
  Sent: Wednesday, 16 March 2022 13:50
                                                                                ra media.biz>

  Subject: Meta: Zefr partnership on post campaign reporting

  Hi -

  Just a heads up that Meta is imminently announcing a big first step on Newsfeed - post campaign transparency that will
  give brands and agencies reporting on where ads show up. This is a big first step for them, and should be acknowledged
  as a significant win we forced. This however is limited to post-buy and English language - so work to be done pre-buy
  and ex Anglo world.

  I've provided them (both Meta and Zefr) with a quote to use across their announcements:

  In our quest to eliminate harmful content from ad-supported digital media, we need controls on where ads appear and measurement to
  verify the accuracy of those placements. Meta and Zefr's partnership is a welcomed step that gives advertisers and agencies post-campaign
  transparency for Feed - a format that has been hard to measure for some time. This is a welcomed cornerstone for more work to come,
  and we are excited to see two GARM members address marketplace needs for transparency and accountability together.




  Rob Rakowitz
  Initiative Lead - Global Alliance for Responsible Media
  World Federation of Advertisers

                                     wfanet.or




                                                               Appendix 110

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